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                      EXHIBIT 1
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                                                                           VIA CM/ECF FILING

October 14, 2021


The Honorable Virginia K. DeMarchi
Robert F. Peckham Federal Building
Courtroom 2 – 5th Floor
280 South 1st Street
San Jose, CA 95113

Re:    Joint Discovery Letter Brief re: Privilege Dispute
       Maximilian Klein et al. v. Facebook, Inc., Case No. 5:20-cv-08570-LHK (N.D. Cal.)

Dear Judge DeMarchi:

       Pursuant to the Court’s Standing Order for Civil Cases, the Consumer Plaintiffs, the
Advertiser Plaintiffs, and Defendant Facebook, Inc. (“Facebook”) respectfully request that the
Court resolve a dispute concerning Facebook’s Clawback Notices dated June 2, 2021, July 13,
2021, August 17, 2021, and August 20, 2021.

                               STATEMENT OF THE DISPUTE

        In June–August, Facebook clawed back twenty-nine documents and portions of fifty-four
others as privileged. Plaintiffs contend that Facebook’s prior disclosure(s) waived privilege; that
Facebook has not established that Fed. R. Evid. 502(b) applies to its past disclosure(s); and that
certain communications Facebook now asserts are privileged are non-privileged on their face.
Facebook contends that Plaintiffs’ challenges are untimely and meritless under the 502(d) Order;
that there was no waiver because prior production was inadvertent; and that the merits of the
underlying privilege issue are not ripe.

           1. Plaintiffs’ Position

       Overview

        In a series of letters, Facebook has sought to claw back as attorney-client privileged forty-
one documents in which Facebook and a third-party PR consultant discuss a press inquiry.
Facebook previously produced all of these documents to the FTC (and perhaps others) in response
to a 2019 CID and voluntary production letter. These documents are non-privileged on their face,
and the Court should order their production on this basis alone. However, even if any portion was
privileged at one point, Facebook waived such privilege through its voluntary production to
regulators several years ago.

       Facebook asserts that its past disclosure(s) to regulators were “inadvertent,” yet has offered
no specific facts, let alone evidence, to establish nonwaiver—an evidentiary inquiry for which
Facebook bears the burden of proof. A review of the documents’ redacted portions makes clear
why: the documents do not seek or provide legal advice. Indeed, every redaction in the forty-one


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documents is applied to communications that include a non-lawyer third party—a PR
consultant—and were therefore never privileged.

       Instead, Facebook asserts that the 502(d) order in this case permits the creation of a
springing privilege for documents that were non-privileged before this action ever began—whether
through the documents’ contents (non-confidential, non-legal communications) or through their
disclosure years ago outside this action. This is wrong. Rule 502(d) itself limits its application to
“disclosure connected with the litigation pending before the court”—and Facebook does not
dispute that all the information it has repeatedly sought to claw back since June was previously
produced to the FTC (and potentially other entities).1

       Facebook’s Attempt to Shield Facially Non-Privileged Documents

        The documents in question are non-privileged on their face.2 For example, all forty-one
documents in Vols. 3 and 4—apparently produced to the FTC without redactions in response to a
2019 CID—are from the same April 2018 email thread wherein a group of Facebook employees
and a third party—Rebecca Hahn of The Outcast Agency, a non-lawyer from an outside PR
firm—discuss Facebook’s response to a forthcoming TechCrunch article regarding “Facebook’s
history of removing Find Friends access from apps that replicate core functionality or don’t share
content back.” Hahn and Facebook’s legal and non-legal teams discuss issues like:




PALM-002033234. Hahn, a third-party non-lawyer, is on every single communication clawed
back by Facebook as “attorney-client privileged” on August 17 and 21. The subject of all these
documents appears to be public relations triage—hence Hahn’s presence—precipitated by a 2018
press inquiry into some of the very facts that Plaintiffs here allege Facebook fraudulently
concealed, and which Facebook claims were publicly known by 2015.



1
  Facebook concedes Plaintiffs’ September 10 challenge to the August 20 clawback is timely. But
Plaintiffs’ challenges to all FTC-related clawbacks are timely, since Facebook clawed back related
documents until August 20. Any delay in resolving this dispute is attributable to Facebook’s
refusal to provide Plaintiffs the information necessary to properly evaluate its privilege claim.
Anyhow, the clawback order here cannot create any privilege or revive one that was waived in
earlier proceedings. Again, Rule 502(d) says this directly.
2
 Plaintiffs’ challenge to the merits of Facebook’s privilege claim is not, as Facebook asserts, a
“sandbag.” Presumably, Facebook formulated its position as to why it believes the challenged
documents are in fact privileged when it decided to claw them back. The fact Facebook won’t
articulate this position to the Court is notable.
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        Attorney-client protection requires a “communication to be made for the primary purpose
of securing either a legal opinion or legal services[.]” In re Grand Jury, __ F.4th __, 2021 WL
4143102, at *4 n.3, *5 (9th Cir. 2021) (internal citation omitted). Here, the documents appear to
instead seek and provide                               and
                                     PALM-002033147–48, PALM-002033151. Far from having a
“primary” purpose of seeking or providing legal advice, these communications involve no legal
advice. See In re Vioxx Prod. Liab. Litig., 501 F. Supp. 2d 789, 809 (E.D. La. 2007)
(communications “for review, comment, and approval” are “not to obtain legal assistance”); In re
Grand Jury, 2021 WL 4143102, at *1-*5; Weil v. Inv./Indicators, Rsch. & Mgmt., Inc., 647 F.2d
18, 24-25 (9th Cir. 1981). The constant involvement of Hahn, a PR professional, elucidates the
non-legal nature of these documents. See Breuder v. Bd. of Trustees of Cmty. Coll. Dist. No. 502,
2021 WL 4283464, at *7 (N.D. Ill. Sept. 21, 2021) (“general public relations work” not privileged).
Moreover, Hahn’s inclusion waives any privilege. See Lights Out Holdings, LLC v. Nike, Inc.,
2015 WL 11254687, at *3 (S.D. Cal. May 28, 2015) (“Disclosing confidential information to a
third party, such as a public relations firm, generally waives privilege.”).

        Additionally, the mere inclusion of in-house counsel on the documents does not transform
their non-legal nature. See IP Co., LLC v. Cellnet Tech., Inc., 2008 WL 3876481, at *3 (N.D. Cal.
Aug. 18, 2008) (“merely copying an attorney on an email” does not establish privilege). Nor does
Facebook’s casual use of              which Facebook’s documents confirm is often either a tactic
to shield documents, or immaterial (as confirmed by Facebook’s post facto choice not to redact
information under this moniker in the challenged documents, as in PALM-002033558). See SPS
Techs., LLC v. Briles Aerospace, Inc., 2020 WL 3050777, at *5 n.7 (C.D. Cal. Feb. 18, 2020)
(“[I]nformation does not become privileged merely by marking it as such.”).

       Facebook Has Offered No Evidence Supporting Its Privilege Claims

         Facebook’s claim that the 502(d) order in this case somehow creates privilege that never
existed or revives privilege waived in prior proceedings by prior disclosure(s) is wrong, and
Facebook’s selective reliance on excerpts from the 502(d) order and the hearing transcript is
misplaced. The Court’s resolution of the prior 502(d) dispute makes clear the 502(d) order is
forward-looking. Dkt. 105 at 2-3 (“the order applies to documents and accompanying metadata
produced or disclosed in this action” (emphasis added)). That is consistent with other courts’
determinations that a 502(d) order in a subsequent case does not create or revive privilege that was
waived when a party produced documents to a regulator in a prior investigation. See United States
v. Paulus, 2021 WL 4494607, at *7 (E.D. Ky. Sept. 30, 2021) (compelling production because
502(d) order “cannot govern an entirely separate disclosure that occurred in a different
proceeding”). Here, the “disclosure” appears to have been in 2019, to the FTC, in that agency’s
investigation. Any privilege was therefore waived at that time, in that proceeding. In fact, 502(d)
itself limits its application to “disclosure connected with the litigation pending before the court.”

       Nor does Facebook’s incantation of the word “inadvertent” establish nonwaiver. Under
Rule 502(b), “[t]he producing party bears the burden of showing compliance.” Viamedia, Inc. v.
Comcast Corp., 2017 WL 28234535, at *5 (N.D. Ill. Sept. 30, 2017) (citations omitted); see Weil,
657 F.2d at 24-25. Yet Facebook has offered no evidence on any Rule 502(b) prong here.
Facebook has refused to provide Plaintiffs the basic who-what-when-where-why of its collection,
review, production, and correspondence regarding the 2019 FTC CID(s)—and potentially other

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“inadvertent” productions of the same information since—to permit Plaintiffs (and the Court) to
evaluate Facebook’s claim of inadvertent disclosure; of reasonable steps to prevent disclosure; and
of reasonable steps to rectify the error. This wholesale evidentiary failure—which stands in
contrast to sworn evidentiary submissions in cases finding Rule 502(b) satisfied (e.g., Viamedia)—
makes clear that Facebook cannot claim the benefit of “inadvertent disclosure” as to any of the
information it disclosed years ago in other proceeding(s). See In re Pacific Pictures Corp., 678
F.3d 1121, 1130 (9th Cir. 2012) (whether party “chose not to assert the privilege when it was
appropriate to do so is . . . relevant to the waiver analysis”); Church & Dwight Co. v. Mayer Lab’ys,
Inc., 2011 WL 6119146, at *1 (N.D. Cal. Dec. 8, 2011) (prior production to FTC waived privilege
in subsequent private antitrust litigation).

       Requested Resolution

       Plaintiffs request that the Court order that: (1) the documents in Vols. 3 and 4 be produced
unredacted to Plaintiffs because they are not privileged on their face; (2) the documents in, at least,
Vols. 1 and 2 be produced to the Plaintiffs in unredacted form because any applicable privilege
was waived by their disclosure to regulators; and (3) if Facebook seeks to claw back any
information previously produced outside this litigation going forward, it must make an appropriate
evidentiary submission to Plaintiffs to allow a proper, prompt evaluation of any assertion of
“inadvertent” disclosure.

           2. Facebook’s Position

        Plaintiffs’ position mocks the Court’s processes and is meritless. Through unexcused
delay, Plaintiffs waived their challenges. Even if timely, the challenges fail because Facebook’s
clawbacks complied with the 502(d) Clawback Order, Dkt. 107, and because Facebook’s
inadvertent production to the FTC did not waive privilege. Finally, Plaintiffs’ last-ditch effort to
interject a dispute on the merits of Facebook’s underlying privilege claim—a dispute they did not
raise before this filing—should be rejected.

               Plaintiffs Waived Their Challenges

       Consistent with the 502(d) Order, Dkt. 107, Facebook informed Plaintiffs on June 2, July
13, August 12, and August 20 that it had identified protected or privileged information among the
more than 12 million pages produced to the FTC and re-produced here.

        Upon receiving these Notices, Plaintiffs had 14 business days to challenge. Dkt. 107 § 2(c).
Plaintiffs, however, waited 69 business days after the June 2 Notice, 42 business days after the
July 13 Notice, and 20 business days after the August 12 Notice to challenge.

        Plaintiffs have no defense to their untimeliness, other than their assertion that any delay is
attributable to Facebook’s failure to provide Plaintiffs information they requested. That is untrue:
Plaintiffs sent a letter asking if information clawed back on July 13 had been produced to the FTC.
July 29 Dunne Letter. Facebook responded to that letter within four business days to confirm that
it had been. Aug. 4 Callan Letter. Plaintiffs then did nothing for the next thirty-six days. Sept.
10 Dunne Letter.



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        Then, after Facebook promptly responded to the September 10 challenge, Plaintiffs
compounded their delay by failing to meet-and-confer within the 14 business days the Order
prescribes. Plaintiffs did not even inquire about scheduling until the 14th business day, and
proposed that the parties actually meet-and-confer five days later. September 30 Williamson
Email. Facebook nonetheless agreed to meet as a courtesy.

       Plaintiffs’ clawback challenges are untimely twice over, and should not be considered.

       The 502(d) Order Permits These Clawbacks

        The 502(d) Order preempts the Plaintiffs’ dispute. That Order states: “the production or
disclosure of any documents … protected from discovery … does not result in the waiver of any
privilege or protection … as to the receiving parties or any third parties in this or in any other state
or federal proceeding.” Dkt. 107 at 2. As this Court observed, the production of millions of pages
to the FTC, and the subsequent re-production of those documents here, are “exactly the situations
that 502(d) was adopted to address.” May 25 Hr’g Tr. 6:23-24. That protection was critical
because Facebook had to reproduce 12 million pages of documents to Plaintiffs without any
opportunity to systematically re-review them for privilege. Id. at 11:11-13.

        When the parties met and conferred, Plaintiffs argued that solely because Facebook
produced the materials at issue to the FTC, it waived privilege and can never claw any of them
back. But that directly contradicts this Court’s recognition that Facebook might discover
privileged information in the documents produced to the FTC, and that Facebook would be able
to claw that information back upon discovery.

         Plaintiffs’ primary case, Pacific Pictures Corp., involved the distinguishable situation
where the producing party “solicited [a] subpoena and chose not to assert the privilege when it was
appropriate to do so,” 679 F.3d at 1130; under those circumstances, the party could not use
privilege to shield the documents from production in subsequent civil litigation. That is a far cry
from this case, where documents were inadvertently produced to the FTC, and where Facebook
clawed those documents back from both the FTC and Plaintiffs. And the only other case Plaintiffs
cite is entirely unrelated. See Church & Dwight, 2011 WL 6119146, at *1 (discussing the impact
of confidentiality agreements on waiver).

        Perhaps recognizing that the Rule 502(d) Order undermines their challenge, Plaintiffs
argue that Rule 502(b), rather than the 502(d) Order, governs. Not so. The 502(d) Order is express
that “502(b) does not apply to any disputes regarding Protected Documents,” and that the Order
“provides the maximum protection allowed by” Rule 502(d). Dkt. 107 at 2. This is the express
purpose of a 502(d) order; Rule 502(d) itself “recognizes that the default test set forth in subsection
(b) may be superseded by court order or by agreement of the parties.” In re Testosterone
Replacement Therapy Prods. Liability Litig., 301 F. Supp. 3d 917, 924 (N.D. Ill. 2018).

        The 502(d) Order was intended to preempt these kinds of disputes—which waste the
parties’ and the Court’s resources. See In re Processed Egg Products Antitrust Litig., 2014 WL
6388436, at *7 (E.D. Pa. Nov. 17, 2014). Plaintiffs’ attempt to circumvent that Order should be
rejected.

       Rule 502(b) Compels The Same Result
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        Even if the 502(d) Order does not apply, there was no waiver. First, the FTC is bound by
regulation to treat clawed-back documents as privileged until any dispute concerning those
documents is resolved. 16 C.F.R. § 2.11(d)(1)(ii). And second, under 502(b), inadvertent
disclosure does not waive privilege where the producing party took reasonable steps to prevent the
disclosure and rectify the error. Fed. R. Evid. 502(b). The facts below—all of which have been
disclosed to Plaintiffs notwithstanding their protestations—make clear there is no waiver.

        Inadvertence. The clawed-back material was among more than 12 million pages produced
to the FTC. High-volume productions are the textbook application of Rule 502(b). Explanatory
Note, Fed. R. Evid. 502(b). Indeed, Plaintiffs acknowledged that “where there’s a mass production
like Facebook has done here … we would be very hard pressed to make a case to your Honor that
any production in there was intentional as opposed to inadvertent.” May 25 Hr’g Tr. 7:10-12; see
also Great Am. Assur. Co. v. Liberty Surplus Ins. Corp., 669 F. Supp. 2d 1084, 1091-1092 (N.D.
Cal. 2009) (Where “a massive amount of documents [are] swapped during discovery,”
“inadvertent disclosure is likely.”). It is unclear why they have changed positions now.

        Reasonable Steps. Facebook also took reasonable steps to prevent disclosure of privileged
information. Facebook conducted a pre-production privilege review that generated an extensive
privilege log, which was then provided to Plaintiffs. Such review constitutes reasonable steps to
prevent disclosure. Njenga v. San Mateo Cty. Superintendent of Sch., 2010 WL 1261493, at *17
n.2 (N.D. Cal. Mar. 30, 2010).

        Facebook has also taken reasonable steps to rectify its error by clawing back privileged
material once it comes to Facebook’s attention. As an illustrative example, Facebook learned that
privileged material had been inadvertently produced when Plaintiffs sent a Production Notice
identifying certain documents. July 29 Srodoski Email. Facebook reviewed those documents and
clawed back the privileged portions on August 12. Aug. 12 S. Mehta Letter. This is precisely the
process contemplated by the 502(d) Order.

         Facebook Acted Promptly. Plaintiffs suggest that Facebook did not act reasonably
because Facebook clawed back documents years after production, once they came up in this
litigation (e.g., after the Production Notice). But whether the clawbacks were prompt turns not on
when the documents were produced, but instead on when the producing party “discovered the
inadvertent disclosure.” Njenga, 2010 WL 1261493, at *17 n.2. Only at that point—once a
privileged document has gone from “1 in a pile of 12 million” to something that a party is
“intentionally relying on,” May 25 Hr’g Tr. 12:8, 17-18—does the producing party have an
“obvious indication[] that a protected communication or information has been produced
inadvertently,” Explanatory Note, Fed. R. Evid. 502(b). And only at that point is the party obliged
to claw the document back or risk waiver.

       The Court Should Not Reach The Merits Of Plaintiffs’ Challenge

        Throughout multiple rounds of correspondence and the meet-and-confer prior to this filing,
Plaintiffs argued only that production to the FTC waived privilege. See, e.g., Sept. 10 Dunne
Letter. Facebook repeatedly asked Plaintiffs to explain their challenge and to identify any
authority that supported their position. Not once did Plaintiffs raise the issue that now dominates
their brief: whether the underlying documents were privileged to begin with.

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        Plaintiffs waived any challenge to Facebook’s substantive privilege claim by declining to
address it through the process the 502(d) Order prescribes. The “lack of a meet and confer” on
this issue “was not due to lack of opportunity,” rather, it seems “an apparent attempt to sandbag.”
Perry v. Brown, 2019 WL 6888048, at *2 (C.D. Cal. June 11, 2019) (denying motion for failure
to comply with meet-and-confer requirement).

       Should the Court determine that Plaintiffs have not waived the merits of their privilege
claim, Facebook respectfully requests to submit additional briefing concerning whether Rebecca
Hahn’s inclusion on the emails waived privilege. For now, Facebook notes that sharing
confidential information with a functional employee like Hahn (who was integrated into the in-
house communications team) does not waive privilege. Schaeffer v. Gregory Vill. Partners, 78 F.
Supp. 3d 1198, 1202-1203 (N.D. Cal. 2015). Facebook would have explained that to Plaintiffs
had the argument been raised before this brief.

                                            *       *      *

        Plaintiffs’ request is meritless.       Their ever-shifting arguments should be summarily
rejected.

                                      NEED FOR HEARING

        Plaintiffs believe that a hearing would assist the Court in resolving this dispute, because
the issues involved are important and potentially recurring—particularly Facebook’s positions
regarding the privilege dispute process and the effect of the 502(d) order on privilege issues arising
from disclosures outside of this case. Plaintiffs are available to present these issues to the Court at
the Court’s convenience.

       Facebook defers to the Court regarding the need for a hearing. To the extent that a hearing
would assist the Court in resolving the parties’ dispute, Facebook will present these issues to the
Court at the Court’s convenience.

                                       RELEVANT DATES

       The fact discovery cut-off for these consolidated actions is September 2, 2022. Dkt. 115.
The expert discovery cut-off for these consolidated actions is November 4, 2022. Id.

              COMPLIANCE WITH MEET-AND-CONFER REQUIREMENT

       The parties conferred about this dispute by Zoom on October 6, 2021. Participants
included: Shana Scarlett (Co-Lead Interim Consumer Class Counsel); Yavar Bathaee (Co-Lead
Interim Advertiser Class Counsel); and Sonal Mehta and David Gringer (lead counsel for
Facebook). Additional counsel attended.




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DATED: October 14, 2021                 Respectfully submitted,

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                            ATTESTATION OF BRIAN J. DUNNE


       This document is being filed through the Electronic Case Filing (ECF) system by attorney

Brian J. Dunne. By his signature, Mr. Dunne attests that he has obtained concurrence in the filing

of this document from each of the attorneys identified on the caption page and in the above

signature block.


 Dated: October 14, 2021                             By:   /s/ Brian J. Dunne
                                                            Brian J. Dunne




                                 CERTIFICATE OF SERVICE


       I hereby certify that on this fourteenth day of October 2021, I electronically transmitted the

foregoing document to the Clerk’s Office using the CM/ECF System, causing the document to be

electronically served on all attorneys of record.


 Dated: October 14, 2021                             By:   /s/ Brian J. Dunne
                                                            Brian J. Dunne




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